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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 18-CV-24100-COOKE/GOODMAN


   DIGNA VINAS,

                  Plaintiff,

   v.

   THE INDEPENDENT ORDER
   OF FORESTERS,

               Defendant.
   ___________________________________/

                                 DEFENDANT’S NOTICE OF AUTHORITIES

           Defendant, The Independent Order of Foresters (“Foresters”), pursuant to this Court’s

   Order of Referral and Order Regarding Court Practices and Procedures (D.E. 4) and Magistrate

   Judge Goodman’s Discovery Procedures Order contained therein, hereby files this Notice of

   Authorities in support of its position at the Discovery Hearing on November 18, 2020 at 2:30

   p.m., as follows:


        1. Eldredge v. Edcare Mgmt., Inc., No. 12-61984, 2013 WL 12131898, at *2 (S.D. Fla. April
           2, 2013)

                  Denying a motion to compel production of a fee arrangement as premature because
                  the plaintiff had not prevailed on her underlying claims.

        2. Brady v. Lauderhill Auto Investors I, LLC, No. 10-60095-CIV, 2010 WL 4135329, at **3-4
           (S.D. Fla. Oct. 19, 2010)

                  Denying a motion to compel a response to an interrogatory regarding attorney’s fees
                  as premature because liability had not been established, and a motion for attorney’s
                  fees was not pending.
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      3. Walker v. Am. Radiographics, Inc., No. 10-60340-CIV, 2010 WL 4064022, at *2 (S.D. Fla.
         Oct. 15, 2010).

                Denying a motion to compel a response to a request for production seeking billing
                records as premature because there was no pending motion for attorney’s fees and
                costs.

   Dated: November 4, 2020                   MCDOWELL HETHERINGTON LLP
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                                  CERTIFICATE OF SERVICE

          I certify that on November 4, 2020, I electronically filed the foregoing with the Clerk of
   the Court by using the CM/ECF system which will send a notice of electronic filing to the
   following:

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                                        s/Kristina B. Pett
                                        Kristina B. Pett




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